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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )       ORDER
                                              )
       vs.                                    )
                                              )
Steven Frazier,                               )       Case No. 1:14-cr-006
                                              )
               Defendant.                     )


       Defendant is charged in a petition with a violation of pretrial release conditions. Defendant

made his initial appearance on the petition in the District of Nevada. Following a detention hearing

in the District of Nevada on February 12, 2015, defendant was released with instructions to report

to the District of North Dakota on March 2, 2015, for a hearing on the petition.

       On February 19, 2015, the court held a status conference with counsel. AUSA Brandi Sasse

Russell appeared on the Government’s behalf. Attorney Justin Vinje appeared on defendant’s

behalf. Pursuant to its discussion with counsel, the court DISMISSES defendant’s petition (Docket

No. 169) and continues his pretrial release subject to the existing conditions.

       IT IS SO ORDERED.

       Dated this 19th day of February, 2015.


                                                      /s/ Charles S. Miller, Jr.
                                                      Charles S. Miller, Jr., Magistrate Judge
                                                      United States District Court
